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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                           Criminal No. 20-mj-21 DTS

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF APPEARANCE

 JEFFREY L. REWEY,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Samantha H. Bates

Dated: January 23, 2020                         Respectfully submitted,

                                                ERICA H. MacDONALD
                                                United States Attorney

                                                s/Samatha H. Bates

                                                BY: SAMANTHA H. BATES
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0395002
